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                                         Appendix D – Documents Cited in Rochford Affidavit
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                                                                                                 Declarations, or        Reasons Inadmissible
    Source1                                                      Endnote       Previous Use      Filings                 and/or Immaterial2
    Final Report of the National Commission on Terrorist       3, 24-25, 28, Averment            Rapawy Exs. 1-3         Generally admissible.
    Attacks Upon the United States [“9/11 Report”]              37, 39-40,                                               As cited in endnotes
                                                               43-44, 58-60,                                             60, 65, 66, and 69,
                                                                62, 65-66,                                               inadmissible as
                                                                   68-71                                                 hearsay
    The Future of U.S.-Saudi Relations, Hearing Before the          4                                                    Hearsay, FRE 602
    House Subcommittee on the Middle East and South Asia of
    the Committee on International Relations, Prepared
    Statement of James L. Woolsey, May 22, 2002
    Updates and Initiatives (as of 5 October 2012). ECF        5-7, 32, 34-                      Consol. Am. Compl.      Hearsay, FRE 602,
    Document 3463-4 [“Florida Bulldog Memorandum”]              36, 41-42                        Appx. 3                 FRE 901, Preliminary
                                                                                                 (ECF No. 3463-4);       investigative material
                                                                                                 Kreindler Ex. 2;
                                                                                                 Tarbutton Ex. 10
    S. Select Comm. on Intelligence and H.R. Permanent Select 8, 10, 12-13,                      Consol. Am. Compl.,     Hearsay, FRE 602,
    Comm. on Intelligence, Joint Inquiry into Intelligence    19-21, 27, 67,                     Appx. 2                 Preliminary
    Community Activities Before and After the Terrorist        76-77, 79,                        (ECF Nos. 3463-2-3);    investigative material
    Attacks of September 11, 2001 (2002) [pages 415-443       83-84, 86-92                       Kreindler 13;
    constitute “Part Four” or the “28 pages”]                                                    Tarbutton Ex. 12




1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the Affidavit. Their
use is for convenience only and should not be taken as a concession that the descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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FBI, Connections of San Diego PENTTBOM Subjects to the         8, 22, 26-27, Aver. Exs. 37-39   Tarbutton Exs. 38-40   Hearsay, FRE 602,
Government of Saudi Arabia, FBI Letterhead Memorandum          29-31, 48, 85 (ECF No. 2930)                            FRE 901, Preliminary
(undated) (FOIA request production published by                                                                        investigative material
INTELWIRE)
Letter from Alawi Mohammed Saeed Kamel (Chairman,                 11, 17                        Tarbutton Ex. 21       Hearsay
Dallah Avco) to H.H./President of Civil Aviation (dated
21/12/1419 A.H.) (corresponding to April 7, 1999)
Letter from Dr. Ali Bin Abdul-Rahman Al-Khalaf                    11, 18                        Tarbutton Ex. 22
(President of the Civil Aviation) to H.H. Assistant Minister
of Defense and Aviation and Inspector General for Civil
Aviation Affairs (dated 1/1/1420 A.H.) (corresponding to
April 17, 1999)
Transcript of Record, Hearing before the Honorable George          14        July 30, 2015                             Hearsay, FRE 602
B. Daniels in the United States District Court for the                       Hearing
Southern District of New York, In Re Terrorist Attacks on                    (ECF No. 2986)
September 11, 2001, Case No. 03 MD 1570 (GBD) (July
30, 2015)
Letter from Alawi Mohammed Saeed Kamel (Chairman,                  15                           Tarbutton Ex. 19       Hearsay
Dallah Avco) to H.E. Eng. Mohamed Ahmed Ai-Salmi
(General Manager of Airway Engineering, Presidency of
Civil Aviation) (dated 18/12/1419 A.H.) (corresponding to
April 4, 1999)
Letter from Engineer Muhammad Ahmad Al Salemi                      16                           Tarbutton Ex. 20
(General Manager of Airways Engineering) to His
Excellency/Chairman of the Board of Directors of the
Dallah Group (dated 20/12/1419G) (corresponding to April
6, 1999)



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FBI Letterhead Memorandum, Omar Al Bayoumi –               23, 27, 29-31, Aver. Ex. 36       Tarbutton Ex. 37   Hearsay, FRE 602,
Employed by Dallah Al Baraka (April 15, 2002) (FOIA              48       (ECF No. 2930)                        FRE 901, Preliminary
request production published by INTELWIRE)                                                                      investigative material
FBI FD-302 of Caysan Bin Don (October 8, 2001) (FOIA       28, 43-44, 46,                    Tarbutton Ex. 59   Hearsay, FRE 602,
request production published by INTELWIRE)                     49-55                                            FRE 901, Preliminary
                                                                                                                investigative material
9/11 Commission Memorandum for the Record, Interview       28, 43-44, 46, Aver. Ex. 32       Tarbutton Ex. 25   Hearsay, FRE 602,
of Cayson Bin Don (April 20, 2004)                         51-52, 56-57 (ECF No. 2930)                          Preliminary
                                                                                                                investigative material
The FBI: Protecting the Homeland in the 21st Century,           33                           Rapawy Ex. 5
Report of the Congressionally-Directed 9/11 Review
Commission [“9/11 Review Report”]
FBI, FAHAD ALTHUMAIRY (NON-USPER) (September 9,                38-40        Aver. Ex. 35     Kreindler Ex. 5;   Hearsay, FRE 602,
2004) (FOIA request production published by                                 (ECF No. 2930)   Tarbutton Ex. 35   FRE 901, Preliminary
INTELWIRE)                                                                                                      investigative material
9/11 Commission Memorandum for the Record, Interview       43, 62, 72-73 Aver. Ex. 30        Kreindler Ex. 6;   Hearsay, FRE 602,
of Omar Al-Bayoumi (October 16-17, 2003)                                 (ECF No. 2930)      Tarbutton Ex. 23   Preliminary
                                                                                                                investigative material
Josh Lefkowitz and Lorenzo Vidino, America’s                   44-45                                            Hearsay, FRE 602
Homegrown Jihadist, (Apr. 27, 2005), available at
http://archive.frontpagemag.com/Printable.aspx?ArtId=879
0
9/11 Commission Memorandum for the Record, Interview            48                           Kreindler Ex. 4;   Hearsay, FRE 602,
of Khalil A. Khalil (February 24, 2004)                                                      Tarbutton Ex. 28   Preliminary
                                                                                                                investigative material




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A Review of the FBI’s Handling of Intelligence                52       Aver. Ex. 40                              Hearsay, FRE 602,
Information Related to the September 11th Attacks, United              (ECF No. 2930)                            Preliminary
States Department of Justice, Office of the Inspector                                                            investigative material
General, available at
https://oig.justice.gov/special/0506/final.pdf
FBI, PENTTBOMB (April 11, 2002) (FOIA request                 58       Aver. Ex. 63       Kreindler Ex. 11;      Hearsay, FRE 602,
production published by INTELWIRE)                                     (ECF No. 2930)     Tarbutton Ex. 46       FRE 901, Preliminary
                                                                                                                 investigative material
FBI, Mihdhar Mohammad Al-Mihdar Zaid (May 17, 2004)          59, 66    Aver. Ex. 46       Tarbutton Ex. 47       Hearsay, FRE 602,
                                                                       (ECF No. 2930)                            FRE 901, Preliminary
                                                                                                                 investigative material
9/11 Commission Memorandum, Summary of Interviews             61                          Tarbutton Ex. 33       Hearsay, FRE 602,
Conducted in Saudi Arabia (February 25, 2004)                                                                    Preliminary
                                                                                                                 investigative material
9/11 Commission Memorandum for the Record, Interview          62       Aver. Ex. 31       Kreindler Ex.3;        Hearsay, FRE 602,
of Fahad al-Thumairy (February 23, 2004)                               (ECF No. 2930)     Tarbutton Ex. 24       Preliminary
                                                                                                                 investigative material
9/11 Commission Memorandum for the Record, Interview         63-64     Aver. Ex. 34       Tarbutton Ex. 27       Hearsay, FRE 602,
of Osama Basnan (October 22, 2003)                                     (ECF No. 2930)                            Preliminary
                                                                                                                 investigative material
9/11 Commission Memorandum for the Record, Interview         63, 82    Aver. Ex. 33       Kreindler Ex. 12;      Hearsay, FRE 602,
of FBI Special Agent [Name Redacted] (November 17,                     (ECF No. 2930)     Tarbutton Ex. 26       Preliminary
2003)                                                                                                            investigative material
FBI Electronic Communication from San Diego to                75       Aver. Exs. 49-51   Tarbutton Exs. 42-44   Hearsay, FRE 602,
Counterterrorism, PENTTBOM; MAJOR CASE 182                             (ECF No. 2930)                            FRE 901, Preliminary
(October 3, 2001) (Case File No. 265A-NY-280350)                                                                 investigative material




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Philip Shenon, The Commission: The Uncensored History       78         Aver. Ex. 44                        Hearsay, FRE 602
of the 9/11 Investigation (2008)                                       (ECF No. 2930)
FBI Document Compiled by the JICI Task Force, ASAC      80-81, 93-94                    Tarbutton Ex. 41   Hearsay, FRE 602,
Robert Blecksmith (October 9, 2002) (FOIA Production                                                       FRE 901, Preliminary
Request by INTELWIRE)                                                                                      investigative material




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